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                      UNITED STATES DISTRICT COURT
                                         for the
                              Western District of Kentucky
                                     Paducah Division

Robert Laffoon                               )
       Plaintiff                             )
                                             )
v.                                           )       Case No. 4:13cv-38 M
                                             )
Portfolio Recovery Associates, LLC           )
        Defendant                            )
                                             )

                   COMPLAINT and DEMAND FOR JURY TRIAL
                                       INTRODUCTION

         1.    This is an action by a consumer seeking damages and declaratory relief for
Defendants’ violations of the Fair Debt Collections Practices Act (“FDCPA”), 15 U.S.C. §§1692
et seq., which prohibits debt collectors from engaging in abusive, deceptive, and unfair collection
practices.

        2.      Defendant, Portfolio Recovery Associates, LLC (“PRA”) has engaged in a
relentless, multi-year campaign of harassment and abuse against, Plaintiff, Robert Laffoon.
Beginning in 2010 or earlier, PRA started calling Mr. Laffoon in attempt to collect a debt from
him that he allegedly originally owed to Capital One Bank (USA), N.A. Mr. Laffoon repeatedly
requested that PRA provide him documentation or some proof of the alleged debt to Capital One.
He repeatedly asked and then begged that PRA stop calling him. But PRA kept calling. PRA
called him on weekends and holidays. PRA has called Mr. Laffoon as early as 6:00 a.m. and as
late as 11:00 p.m. Hopkins County local time. PRA has made a wide variety of threats against
Mr. Laffoon, including legal action, garnishment, and additional fees and penalties. PRA has
berated and demeaned Mr. Laffoon. In October of 2011, a PRA employee, representative, or
agent called Mr. Laffoon on a Sunday afternoon. The call so upset Mr. Laffoon that he suffered a
heart attack. These and other actions by PRA violate the FDCPA.

                                        JURISDICTION

       3.    This Court has jurisdiction pursuant to 28 U.S.C. § 1331, and the FDCPA, 15
U.S.C. §1692k(d).

                                            PARTIES

        4.       Plaintiff, Robert Laffoon, is a natural person who resides in Hopkins County, Ky.
Plaintiff is a consumer within the meaning of the FDCPA, as defined at 15 U.S.C. § 1692a(3).
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        5.     Defendant, Portfolio Recovery Associates, LLC (“PRA”) is a limited liability
company, the principal purpose of whose business is the collection of debts, operating a debt
collection agency with its principal place of business located at 120 Corporate Blvd., Norfolk,
VA 23502.

       6.      PRA regularly collect or attempt to collect debts owed or due or asserted to be
owed or due another, and are each “debt collectors” within the meaning of the FDCPA, as
defined at 15 U.S.C. § 1692a(6).

                                 STATEMENT OF FACTS

       6.     PRA engaged in a determined and relentless campaign of debt collection abuse
aimed at Mr. Laffoon.

        7.     In 2010 or earlier, PRA began harassing Mr. Laffoon by repeated telephone calls
in attempt to collect an alleged debt, which the person calling on behalf of PRA identified as a
credit card debt originally owed to Capital One Bank (USA), N.A.

        8.      Mr. Laffoon paid Capital One any debt that he owed on the Capital One credit
card in full 2002.

       9.      Mr. Laffoon recalls opening a Capital One credit card account in 1995, which he
used to purchase goods and services for personal and household purposes. So PRA’s repeated
and insistent telephone calls were an attempt to collect a “debt” from Mr. Laffoon within the
meaning of the FDCPA. 15 U.S.C. § 1692a(5).

       10.    Mr. Lafffoon repeatedly asked the person calling on behalf of PRA to provide him
some sort of documentation concerning the alleged debt. PRA never produced any documents to
Mr. Laffoon.

        11.    Mr. Laffoon repeatedly asked and begged the person calling on behalf of PRA to
stop calling him. The calls continued at the same relentless pace.

      12.    Mr. Laffoon received calls from PRA as early 6:00 a.m. and as late as 11:00 p.m.
Hopkins County local time.

       13.     Persons calling on behalf of PRA berated Mr. Laffoon and called him a bad
person for not paying his debts.

       14.     Persons calling on behalf of PRA threatened to sue Mr. Laffoon to enforce the
debt. Such persons also threatened to garnish Mr. Laffoon’s wages and bank account, and to add
fees and penalties onto the alleged debt.

       15.       In October of 2011, a PRA employee, representative, or agent called Mr.
Laffoon on a Sunday afternoon. The call so upset Mr. Laffoon that he suffered a heart attack.
And still the dunning calls continued.

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        16.     A very recent call from a PRA employee, representative, or agent so upset Mr.
Laffoon that he contemplated suicide and he expressed this to the employee, representative, or
agent in the terms of wishing he a gun and bullet to end his misery.

       17.    PRA’s abusive and harassing debt-collection campaign against Mr. Laffoon has
caused Mr. Laffoon great emotional distress and physical anxiety.

       18.     Any alleged default on Mr. Laffoon’s Capital One credit card could not have
occurred at any time after 2001.

         19.   The statute of limitations on the collection of credit card debt under Kentucky law
is five years.

         20.    Capital One Bank (USA), N.A.’s headquarters are in Norfolk, Virginia.

         21.    The statute of limitations for collection of credit card debt under Virginia law is three
years.

        22.     Capital One’s and hence PRA’s alleged cause of action against Mr. Laffoon accrued
in Virginia.

       23.     Virginia’s statute of limitations applies to PRA’s cause of action against Mr. Laffoon
pursuant to Kentucky’s borrowing statute, KRS 413.320.

        24.     The statute of limitations began to run on any default on Mr. Laffoon’s Capital One
credit card account no later than December of 2001.

        25.      Consequently, both the Kentucky and Virginia statute of limitations is a complete bar
to any legal claim has against Mr. Laffoon to collect the Capital One credit card debt.

                                       CAUSE OF ACTION

I.       Violations of the Fair Debt Collection Practices Act

        26.     The foregoing acts and omissions of Portfolio Recovery Associates, LLC
constitute violations of the FDCPA, including, but not limited to:

                (a) PRA violated 15 U.S.C. 1692c(a) by calling Mr. Laffoon at “unusual
                time[s],” which PRA knew or should have known was “inconvenient” to Mr.
                Laffoon, including but not limited to dunning telephone calls made on weekends,
                holidays, as early 6:00 a.m. and as late as 11:00 a.m. local Hopkins County time;

                (b) PRA violated 15 U.S.C.A. § 1692c(c) by continuing to call Mr. Laffoon about
                the alleged, unidentified debt after receiving a clear notice to cease and desist
                further communications with Mr. Laffoon;


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                (c) PRA violated 15 U.S.C. § 1692e(5) by “threat[ening] to take any action that
                cannot legally be taken or that [was] not intended to be taken” by, including but
                not limited to, (i) falsely threatening to sue Mr. Laffoon to collect a debt and (ii)
                threatening to sue him to collect a debt that was passed the applicable statute of
                limitations; and

                (d) PRA violated 15 U.S.C. § 1692d by engaging in conduct intentionally
                designed to harass, oppress, and abuse Mr. Laffoon in connection with the
                collection of a debt, including but not limited to berating Mr. Laffoon over the
                phone, impugning his character, and “[c]ausing [Mr. Laffoon’s] telephone to ring
                or engaging [Mr. Laffoon] in telephone conversation repeatedly or continuously
                with intent to annoy, abuse, or harass [Mr. Laffoon] at the called number.”

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, James Laffoon, requests that the Court grant the following
relief:

          1.    Award Plaintiff actual damages;

          2.    Award Plaintiff statutory damages;

          3.    Award Plaintiff punitive damages;

          4.    Award Plaintiff reasonable attorney’s fees;

          5.     Award Plaintiff costs;

          6.    Such other relief as may be just and proper.

TRIAL BY JURY IS DEMANDED




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                             Respectfully submitted


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